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                 10
                                              UNITED STATES DISTRICT COURT
                 11
                                         CENTRAL DISTRICT OF CALIFORNIA
                 12
                 13
                    RIOT GAMES, INC., a Delaware               CASE NO. 2:22-cv-00429- PA (KSx)
                 14 corporation,
                                                               [Assigned to Judge Percy Anderson]
                 15              Plaintiff,
                 16        v.                                  MEMORANDUM OF POINTS
                                                               AND AUTHORITIES OF
                 17 SUGA PTE, LTD., a company                  PLAINTIFF RIOT GAMES, INC.
                    incorporated under the laws of             IN OPPOSITION TO MOTION OF
                 18 Singapore; IMBA TECHNOLOGY                 IMBA TECHNOLOGY
                    COMPANY LIMITED, a division of             COMPANY LIMITED AND SUGA
                 19 SUGA PTE, LTD., a company                  PTE, LTD. TO DISMISS FOR
                    incorporated under the laws of             LACK OF PERSONAL
                 20 Singapore; IMBA NETWORK LLC, a             JURISDICTION
                    Delaware limited liability company;
                 21 DOES 1-10, inclusive,
                                                               Date:       July 11, 2022
                 22              Defendants.                   Time:       1:30 pm
                 23
                 24                                            Complaint Filed: January 20, 2022
                 25
                 26
                 27
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                  1                                   INTRODUCTION
                  2         This is a copyright infringement lawsuit arising from a mobile game (titled
                  3 “I Am Hero,” or the “Infringing Game”) intentionally distributed in the United
                  4 States that blatantly infringes Plaintiff’s immensely popular online game “League
                  5 of Legends.” Defendants Imba Technology Company Limited (“Imba Tech”),
                  6 Suga Pte., Ltd. (“Suga”), and Imba Network LLC (“Imba Network”), are three
                  7 closely related companies responsible for, or otherwise participating in, the
                  8 development, marketing, distribution, maintenance and exploitation of the
                  9 Infringing Game. Through these acts, Defendants knowingly caused the Infringing
                 10 Game to be distributed to thousands of U.S. customers, who paid tens of thousands
                 11 of dollars to Defendants via their purchase of in-game virtual goods or currency.
                 12         In an effort to evade responsibility for their unlawful conduct, two of the
                 13 three Defendants, Imba Tech and Suga (together, the “Moving Defendants”) have
                 14 moved to dismiss the claims against them. Their claim, in essence, is that because
                 15 they are located overseas (namely, in Vietnam and Singapore) and created a U.S.
                 16 shell or holding company to undertake certain administrative tasks related to the
                 17 distribution of the Infringing Game, they are not subject to personal jurisdiction in
                 18 this Court.1 Yet the Moving Defendants offer virtually nothing in the way of
                 19 evidentiary support or legal authority to support their jurisdictional arguments.
                 20 Instead, the entirety of their Motion is based on a brief recitation of the legal
                 21 standard and two cursory declarations. Tellingly, Moving Defendants’
                 22 declarations obscure or omit critical facts and fail to provide even the most basic
                 23 information about Defendants, including what the Moving Defendants actually do,
                 24 how they are related, and how they are involved with the Infringing Game.
                 25 Likewise, their threadbare legal argument ignores the relevant cases in this District
                 26 holding that a foreign company’s development, marketing, and exploitation of a
                 27
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                      The third defendant, Imba Network LLC (“Imba Network”) has not contested
                 28 jurisdiction
  Silberberg &                   and has filed an Answer and Counterclaims. Dkt. No. 26.
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                  1 video game for the U.S. market is sufficient for personal jurisdiction. See, e.g.,
                  2 Blizzard Entm’t, Inc. v. Joyfun Inc. Co., Ltd., 2020 WL 1972284, at *5 (C.D. Cal.,
                  3 Feb. 7, 2020); Blizzard Entm’t, Inc. v. Bossland GmbH, 2017 WL 412262, at *4
                  4 (C.D. Cal. Jan. 25, 2017).
                  5         Moving Defendants’ omissions and obfuscations are deliberate. Riot has
                  6 clearly and specifically alleged, on the basis of compelling documented evidence,
                  7 that Imba Tech is responsible for virtually every aspect of the Infringing Game.
                  8 Imba Tech’s conduct was focused on, aimed at, and designed to take advantage of
                  9 the U.S. market. Imba Tech created and developed the Infringing Game knowing
                 10 and intending that it would appeal to U.S. users and Riot’s fans. It created
                 11 English-language advertisements, social media pages, support pages, and chat
                 12 rooms hosted by U.S. companies. It entered into contracts with U.S. players of the
                 13 Infringing Game, even providing special choice of law and venue terms for those
                 14 U.S. users. It created and regularly added multiplayer servers, including servers
                 15 located in the U.S. It updated and maintained the game. And, it directly or
                 16 indirectly distributed the Infringing Game by providing links to download
                 17 locations and/or uploading new updates or builds to the Apple App Store or
                 18 Google Play Store. This is more than enough for the exercise of personal
                 19 jurisdiction over Imba Tech, irrespective of whether Imba Tech delegated to its
                 20 U.S. affiliate (a shell company with no office or employees) the administrative task
                 21 of creating an account with Apple and Google so that the Infringing Game could
                 22 be distributed on those platforms and so that they could receive U.S. dollars.
                 23         As for Suga, its cursory form declaration (which is a cut-and-paste of Imba
                 24 Tech’s declaration) wholly ignores its own public statements and admissions,
                 25 including those concerning its relationship to Imba Tech. These admissions
                 26 include, for example, that Suga: treats Imba Tech as its central gaming “division”
                 27 or “brand”; shares employees with Imba Tech; is owned, operated and controlled
    Mitchell     28 by the same people that own, operate or control Imba Tech; provides critical
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                  1 functions such as HR and related services; and touts the Infringing Game as one of
                  2 its own products. The foregoing is sufficient to satisfy Riot’s light burden to
                  3 establish a likely alter ego or agency relationship. Alternatively, Riot should be
                  4 granted the opportunity for discovery as to Suga’s relationship to the Infringing
                  5 Game and to the other Defendants.
                  6         Imba Tech and Suga are not passive foreign companies whose products
                  7 happened to be imported to the U.S. Together, these companies financed, created,
                  8 distributed, marketed, and exploited the Infringing Game, intending that it would
                  9 be downloaded and played by U.S. users. Moving Defendants’ Motion should be
                 10 denied. At most, the Moving Defendants have only succeeded in creating
                 11 jurisdictional disputes of fact, which are properly submitted to a limited course of
                 12 discovery. If this Court has any doubt regarding the sufficiency of Riot’s
                 13 jurisdictional allegations, the Moving Defendants’ Motion should be deferred until
                 14 after Riot has had the opportunity to conduct jurisdictional discovery.
                 15 I.      STATEMENT OF FACTS.
                 16         Riot and the League of Legends Games. Riot is a video game developer
                 17 and publisher based in Los Angeles, California. Compl. ¶ 15. Riot is in the
                 18 business of producing, financing, developing, marketing, and distributing a catalog
                 19 of video games and interactive entertainment products. Id. Riot’s flagship game is
                 20 the immensely popular game “League of Legends” (“LoL”). Id. LoL is a highly
                 21 competitive online game in which two teams of powerful “champions,” each with a
                 22 unique design and playstyle, battle head-to-head across computer-generated. Id.
                 23 ¶ 16. Over the past few years, Riot has released a series of LoL mobile “spin-off”
                 24 games, including “Teamfight Tactics” and “Wild Rift,” featuring characters and
                 25 environments first introduced in LoL. Id. ¶ 15.
                 26         Millions of people around the world have played LoL, making it one of the
                 27 most popular video games in the world. Declaration of Marc E. Mayer (“Mayer
    Mitchell     28 Decl.”) ¶ 29, Ex. 27. The United States has the largest proportion of LoL players
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                  1 and is among the most popular games played in the United States. Id.
                  2         The Infringing Game. At issue in this lawsuit is a mobile game titled “I
                  3 Am Hero – AFK Tactical Teamfight” (the “Infringing Game”). Compl. ¶ 23.
                  4 Prior to this lawsuit (at which time the game was temporarily removed from sale),
                  5 the Infringing Game was available for download in the United States on the
                  6 Google Play store and Apple App Store. Id.; Mayer Decl. Exs. 1, 2. As set forth
                  7 in the Complaint, the Infringing Game extensively copied protectable expression
                  8 from LoL and its spin-off games. See Compl., ¶¶ 30-36. Most notably, the
                  9 Infringing Game contains copies of dozens of LoL’s distinctive champions,
                 10 including their names, backstories and lore, visual appearance, and skills and
                 11 abilities. Id. Riot has alleged (and Defendants have not contested) that members
                 12 of the public, including thousands of people in the United States, have downloaded
                 13 the Infringing Game at least 500,000 times. Id. ¶ 25; Mayer Decl. Ex. 1.
                 14 (Defendants have not disclosed, and discovery would be required to determine, the
                 15 precise amount of revenue received by Defendants from U.S. users.)
                 16         Defendants And Their Relationship. The Infringing Game is the product
                 17 of three closely affiliated companies – (1) Suga Pte, Ltd., (2) Imba Technology
                 18 Company Limited, and (3) Imba Network LLC. See, e.g., Compl. ¶¶ 7-8, 22;
                 19 Mayer Decl. ¶¶ 2-11. Imba Network LLC (“Imba Network”) is a Delaware
                 20 corporation, which has not contested jurisdiction, has filed an Answer and
                 21 Counterclaims, and is not a party to this Motion. See Am. Answer (ECF No. 32).
                 22 Suga Pte, Ltd. (“Suga”) is a Singapore Corporation with offices in Singapore and
                 23 Ho Chi Min City, Vietnam. Compl. ¶ 7; Mayer Decl. ¶¶ 6-7, Exs. 5-6. Imba
                 24 Technology Company Limited (“Imba Tech”) is a Vietnam corporation with its
                 25 principal place of business in Ho Chi Min City. Id.; Mayer Decl. ¶¶ 4, 8, 21-22.
                 26 Imba Tech formerly was known as “Suga Studio.” Mayer Decl. ¶¶ 8-9.
                 27         Defendants have deliberately obscured the relationship between these three
    Mitchell     28 companies, both in their public-facing materials and in the threadbare, form
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                  1 declarations submitted to the Court. The two declarations – one submitted by the
                  2 CEO of Imba Tech (Tuan Minh Do a/k/a Do Tuan Minh) (“Do”) (ECF No. 27-3)
                  3 and the other by the CEO of Suga (Ngoc Duy Truong a/k/a Truong Ngoc Duy)
                  4 (“Truong”) (ECF No. 27-4) – are six sentences long, and devoid of any
                  5 information about what each company does or how they are related to each other.
                  6 Moreover, Defendants’ declarations are inconsistent, as Do states (at ¶ 3) that
                  7 “Suga was incorporated under the laws of Vietnam, has always had its principal
                  8 place of business in Vietnam, and performs almost all of their corporate and
                  9 business activities in Vietnam,” while Mr. Truong states (at ¶ 3) that “Suga was
                 10 incorporated under the laws of Singapore, has always had its principal place of
                 11 business in Singapore, and performs almost all of their corporate and business
                 12 activities in Singapore.”
                 13          Without the benefit of discovery, it is impossible for Riot to determine the
                 14 precise corporate relationship between Suga, Imba Tech, and Imba Network. Imba
                 15 Games has already begun to delete relevant online information in an apparent
                 16 attempt to obscure the relationships. Mayer Decl. ¶ 18. However, Riot’s
                 17 investigation has revealed that the three companies are closely intertwined, work
                 18 together to market and distribute the Infringing Game, and share officers,
                 19 employees, offices, marketing materials, and other resources. For example:
                 20          ●     In its marketing materials Suga refers to Imba Tech as a “division” of
                 21 Suga – not as a separate company. Mayer Decl. ¶ 8, Ex. 7. Suga also sometimes
                 22 refers to “Imba” as well as the Infringing Game as one of its “brands.” Id. ¶ 9,
                 23 Ex. 8.
                 24          ●     Marketing materials refer to Imba Tech as “Suga Vietnam,” and/or
                 25 describe Suga as the “office operator” for Imba Tech. Id. Ex. 5.
                 26          ●     Suga and Imba Tech both feature the same individual at the helm of
                 27 management: Do Tuan Minh. Id. ¶¶ 5, 6, 23, 24.
    Mitchell     28          ●     Photographs of “Suga Group” employees feature employees holding
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                  1 both Suga and Imba signs. Id. ¶ 6, Ex. 5.
                  2         ●      While Suga’s CEO claims in his declaration that Suga has “never…
                  3 distributed anything… in California or the United States,” Suga’s website states
                  4 that Imba is Suga’s “Game Provider”, id. Ex. 5, and Imba’s official Youtube
                  5 account notes that “[w]e have 8 games on Google Play Store/App Store with some
                  6 were [sic] featured on Google Play.” Id. Ex. 7. Suga also distributed a powerpoint
                  7 presentation in which it includes the Infringing Game as one of “Our Games.” Id.
                  8 ¶ 10, Ex. 9.
                  9         ●      Suga’s website contains a “careers” page, where it advertises positions
                 10 in the Imba Tech office to work on mobile games purportedly developed by Imba
                 11 Tech. Suga requests that job applications be sent to Suga (not Imba Tech) at
                 12 Suga’s email address: admin@suga.vn. Id. ¶ 7, Ex. 6.
                 13         Imba Tech Developed, Marketed, and Exploited the Infringing Game
                 14 for or to the U.S. Market. Moving Defendants apparently claim that Imba
                 15 Network is or was a party to a form agreement with Apple and Google allowing it
                 16 to distribute the Infringing Game on the Apple App Store and Google Play Store.
                 17 Mot. at 7 (ECF No. 27). Imba Network has consented to jurisdiction and is not a
                 18 party to this Motion. See Am. Answer at 2-3. Riot’s investigation has revealed
                 19 that Imba Network is a shell company. Imba Network does not have an office,2
                 20 and does not appear to have any actual employees. Rather, its address is that of a
                 21 Delaware corporate services company and its only “employee” appears to be Do –
                 22 who also is the founder and CEO of Imba Network, the CEO of Imba Tech, and
                 23 (until 2020) the Chief Technology Officer of Suga. Mayer Decl. ¶¶ 5, 6, 23, 24.
                 24         The only function of Imba Network appears to be that it is used by the other
                 25 Defendants as a corporate shield to maintain a façade that it is the distributor of
                 26   Imba Network has inconsistently represented that its address is “3000 South
                      2


                 27 appear toHighway”
                    Dupont              and “3500 South Dupont Highway.” The former does not
                              exist. Mayer Decl. ¶ 25. The latter is the address of “Incorporating
    Mitchell        Services, Ltd.,” a corporate services firm that acts as registered agent for foreign
                 28 companies.
  Silberberg &                   Id. ¶ 25, Ex. 24.
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                  1 Imba Tech’s (and/or Suga’s) mobile games on the Apple App Store and Google
                  2 Play Store. Id. Exs. 1, 2. While the Truong declaration artfully states (at ¶ 5) that
                  3 “Imba Tech has never sold anything [or] distributed anything in the United States,”
                  4 the fact of the matter is that Imba Tech (or Suga, to the extent it operates, owns,
                  5 and controls Imba Tech) is the entity that is entirely responsible for the Infringing
                  6 Game. Id. Exs. 1-2 (listing “Imba Games” as the developer and offeror of the
                  7 Infringing Game), ¶ 5 and Ex. 4 (confirming “Imba Games” is a trade and d/b/a
                  8 name for Imba Tech), Exs. 5-8 (showing Suga operates, owns and controls Imba
                  9 Tech/Imba Games), Exs. 8-9 (listing the Infringing Games as one of Suga’s
                 10 “brands” and “game developments”). In doing so, Imba Tech specifically targeted
                 11 the United States market and Riot’s valuable intellectual property.
                 12         Development of the Infringing Game. Imba Tech is the developer of the
                 13 Infringing Game. Id. ¶¶ 2-5, Exs. 1-4. In other words, employees of Imba Tech
                 14 designed, created, and programmed the Infringing Game. Id. These employees
                 15 include at least one person located in San Francisco, California, contrary to
                 16 Truong’s statement that “Imba Tech has never had any employees in California or
                 17 the United States.” Id. ¶ 12, Ex. 11.
                 18         When it created the Infringing Game, Imba Tech plainly set out and intended
                 19 to capture the attention of the large numbers of United States consumers who
                 20 regularly play LoL or watch competitive LoL esports matches. To do so, Imba
                 21 Tech included in the Infringing Game dozens of LoL champions, using the same
                 22 (or very similar) names and abilities. Compl. ¶¶ 30-36. Imba Tech even copied,
                 23 verbatim, the background (English-language) “lore” for each of these champions.
                 24 Id. ¶ 34. Imba Tech knew exactly what it was doing; Imba Tech’s employees are
                 25 regular LoL players and fans, and they play the game regularly and competitively.
                 26 Imba Tech holds its own LoL tournament (the “Imba Cup”) and posts videos and
                 27 images showing its employees competing in LoL matches on its social media
    Mitchell     28 accounts, including Facebook and Twitter. Mayer Decl. ¶ 13, Ex. 12. Perhaps
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                  1 most telling, Imba regularly used Riot-related hashtags on its Twitter feed to
                  2 market its games, including #LeagueofLegends, #LOL, and #Teamfighttactics.
                  3 Imba knew that these hashtags would cause its Tweets to be displayed to people
                  4 who follow Riot’s games on Twitter. Mayer Decl. ¶ 14, Ex. 13.
                  5         Imba Tech also intended that the Infringing Game appeal specifically to U.S.
                  6 players. All of its text is in English. (As are the marketing materials, as set forth
                  7 below, Mayer Decl. Exs. 14-18). The description of the Infringing Game in the
                  8 Google Play and Apple App Store is in English. Id. Exs. 1-2. The prices for in-
                  9 app purchases are in U.S. dollars (e.g. $4.99 for a “Small Limit Offer” and $.99 for
                 10 a “Very Small Limit Offer.”). Id. The Infringing Game’s Terms of Service and
                 11 Privacy Policy (which are between players and Imba Tech) are in English. Id.
                 12 Exs. 20, 21. Perhaps most critically, the Terms of Service specifically state: “If
                 13 you are a resident of the United States, these Terms of Service and any dispute
                 14 arising out of or related to it or Privacy Policy or the Service shall be governed in
                 15 all respects by California law, without regard to conflict of law provisions.” Id.
                 16 Thus, Imba tech knows and intends that its game has been and will be downloaded
                 17 and played by U.S. customers – and specifically crafts policies and terms to
                 18 accommodate and attract them.
                 19         In addition to the foregoing, Imba Tech maintains and manages all of the
                 20 servers that enable the game to be played online (and the game can only be played
                 21 online). Throughout 2020, Imba Tech routinely added new servers, and as of early
                 22 2021 Imba Tech was running at least 70 online servers. Id. Ex. 15. According to
                 23 Imba Tech, at least some of those servers were located in the United States. Id.
                 24 ¶ 21, Ex. 20 (“[w]e store information on servers located in the United States via
                 25 Amazon Web Services and may store information on servers and equipment in
                 26 other countries.”)
                 27         Marketing of the Infringing Game to U.S. Players. Imba Tech also is
    Mitchell     28 responsible for marketing and promoting the Infringing Game. This marketing
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                  1 specifically targeted U.S. customers. For example:
                  2         ●     Imba Tech created an English language website to market the
                  3 Infringing Game, located at www.playiamhero.com (the “Website”). Id. ¶ 15, Ex.
                  4 14. The Website was created and is administered by Imba Tech and contains
                  5 images from the Infringing Game and links to a variety of other social media sites,
                  6 such as a Discord server, Facebook page, YouTube channel, Twitter feed, and
                  7 Instagram account. Id. All of these social media pages are in English. Id. Exs. 14-
                  8 17. The Website also contains links to the Apple and Google pages where the
                  9 Infringing Game can be downloaded. Id. Ex. 14.
                 10         ●     Imba Tech recruited English-language streamers or influencers to help
                 11 promote the game. (Its recruiting ads specifically required that the streamers use
                 12 English.) Id. ¶ 17, Ex. 16. As a result of that recruiting effort, Imba Tech entered
                 13 into a major promotional relationship with U.S.-based streamer “Kodeations.” Id.
                 14 ¶¶ 19-20, Exs. 18-19. These streamers created several videos about the Infringing
                 15 Game directed to audiences in the U.S. Id.
                 16         ●     Imba Tech offered promotions around U.S. holidays, such as Mothers’
                 17 Day and Halloween. Id. ¶ 17, Ex. 16.
                 18         Engagement With and Monetization From U.S. Users. Public-facing
                 19 information also confirms that Imba Tech (not Imba Network) is responsible for
                 20 operating, supporting, maintaining, patching, and monetizing the game. For
                 21 example, Imba Tech regularly posts information to its Facebook and Twitter pages
                 22 about game maintenance and features. Id. Exs. 14, 15. Imba Tech offers customer
                 23 support for the game to U.S. customers, both through its social media pages and
                 24 through an “Imba Support Portal” using the ZenDesk platform. Id. Ex. 25. On the
                 25 Portal, Imba Tech claims that “[w]e have a mod team who always support you
                 26 when you contact us 24/7.” Id. Ex. 26.
                 27         Critically, in order to play the Infringing Game players must agree to a
    Mitchell     28 Terms of Service with “Imba, a Vietnamese company” (not Imba Network). Id.
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                  1 ¶ 22, Ex. 21. If the player does not agree to enter into this contract with Imba
                  2 Tech, then “your license to use the Service shall immediately terminate, and you
                  3 must immediately stop using the Service.” Id. The Imba Tech Terms of Service
                  4 includes a license agreement between Imba Tech and the user. Id. It also requires
                  5 that players create an account and login credentials, agree to a code of conduct,
                  6 agree that Imba Tech may terminate or suspend a user account for any number of
                  7 reasons, and agree to grant a license to Imba Tech for the use of any content posted
                  8 or created by the player. Id. Finally, the Terms of Service makes clear that all in-
                  9 game purchases are transactions between Imba Tech (“or our authorised partners”)
                 10 and the player, and that all such purchases are “final and nonrefundable.” Id.
                 11         Distribution of the Infringing Game in the United States. Imba Tech’s
                 12 claim that it did not “distribute anything” in the United States is disingenuous.
                 13 While Imba Tech apparently delegated to Imba Network the administrative task of
                 14 creating an Apple and Google seller account, Imba Tech and its employees
                 15 evidently provided some or all of the software files and updates to Apple and
                 16 Google (evidenced by Imba Tech’s regular social media updates announcing the
                 17 release or launch of new versions or fixes/patches, id. Exs. 14, 15). In its
                 18 promotional materials Imba Tech (not Imba Network) repeatedly claims to be the
                 19 distributor of the Infringing Game, claiming on its Facebook page, for example,
                 20 that “We Reached Top 1” on the App Store. Id., Ex. 16.
                 21         Regardless, Imba Tech directly or indirectly distributed the Infringing Game
                 22 by providing links on its Website and Facebook page. Id. Exs. 4, 15, 16. These
                 23 links, when clicked, bring users directly to the page on the Apple or Google store
                 24 pages from which the Infringing Game could be downloaded. See Universal City
                 25 Studios, Inc. v. Reimerdes, 111 F.Supp.2d 294, 339 (S.D.N.Y. 2000) (“Defendants'
                 26 posting and their linking amount to very much the same thing.”), aff’d sub nom,
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                  1 Universal City Studios, Inc. v. Corley, 273 F.3d 429 (2d Cir. 2001).3
                  2 II.     THIS COURT HAS SPECIFIC PERSONAL JURISDICTION OVER
                  3         THE MOVING DEFENDANTS.
                  4         The foregoing (uncontested) allegations far exceed the threshold “prima
                  5 facie showing of jurisdictional facts” required to defeat the Moving Defendants’
                  6 Motion. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir.
                  7 2004) (internal quotation marks and citation omitted). “Although the plaintiff
                  8 cannot simply rest on the bare allegations of its complaint . . . , uncontroverted
                  9 allegations in the complaint must be taken as true. . . . [And] [c]onflicts between
                 10 parties over statements contained in affidavits must be resolved in the plaintiff’s
                 11 favor.” Id. (internal quotation marks and citations omitted). These evidentiary
                 12 burdens and presumptions apply to all jurisdictional facts, including those relevant
                 13 to Defendants’ individual contacts with the forum and Riot’s alter ego claims. See
                 14 ADO Fin., AG v. McDonnell Douglas Corp., 931 F. Supp. 711, 717 (C.D. Cal.
                 15 1996) (“[Plaintiff] need only make a prima facie showing of alter ego liability in
                 16 order to defeat the instant motion.”).
                 17         The Moving Defendants devote significant space in their Motion to attack
                 18 the exercise of general jurisdiction, see Motion Section IV.B, but Riot does not
                 19 claim that Moving Defendants are subject to general jurisdiction in the United
                 20 States. Rather, Moving Defendants are subject to specific jurisdiction under the
                 21 federal long-arm statute by virtue of Imba Tech’s distribution, marketing,
                 22 monetization, support, and other exploitation of the Infringing Game in the U.S.
                 23
                 24
                    3
                      See also J. Ginsburg & L. Budiardjo, Liability for Providing Hyperlinks to
                 25 Copyright-Infringing   Content: International and Comparative Law Perspectives,
                    41  COLUM.    J. L. & ARTS    153, 184 (2018) (“[A] clickable hyperlink must be
                 26 considered part of the ’process‘  through which a user accesses a piece of
                    underlying  content: after a user clicks a link, the HTML code embedded in the link
                 27 begins the process of transmission by supplying      the URL location of the content to
    Mitchell        the user’s browser  and instructing  the browser   to access that URL, after which the
                 28 browser completes the process of retrieving the content
  Silberberg &                                                                  from the source server.”)
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                  1         Initially, because Riot’s copyright infringement claims arise under federal
                  2 law, the federal long-arm statute, Fed. R. Civ. P. 4(k)(2), applies:
                  3         For a claim that arises under federal law, serving a summons . . .
                  4         establishes personal jurisdiction over a defendant if: (A) the defendant
                            is not subject to jurisdiction in any state’s courts of general
                  5         jurisdiction; and (B) exercising jurisdiction is consistent with the
                  6         United States Constitution and laws.
                  7 The Motion does not address, let alone engage with, the federal long-arm statute.
                  8 Moving Defendants do not dispute that Riot’s claims arise under federal law and
                  9 do not identify any specific State in which they are subject to general jurisdiction;
                 10 rather, they contend that jurisdiction does not exist anywhere in the United States.
                 11 See Goes Int'l, AB v. Dodur Ltd., 2015 WL 5043296, at *7–8 (N.D. Cal. Aug. 26,
                 12 2015) (summarizing proof requirements under Rule 4(k)(2)).
                 13         Thus, the only remaining issue is whether the exercise of jurisdiction is
                 14 consistent with Constitutional due process. “The due process analysis under Rule
                 15 4(k)(2) is nearly identical to the traditional [specific] personal jurisdiction analysis
                 16 with one significant difference: rather than considering contacts between the ...
                 17 [defendants] and the forum state, we consider contacts with the nation as a whole.”
                 18 Id.; see also Joyfun , 2020 WL 1972284 at *5, citing Blizzard Entm’t, Inc. v.
                 19 Bossland GmbH, 2017 WL 412262, at *4 (C.D. Cal. Jan. 25, 2017) (“The final
                 20 component of the Rule 4(k)(2) analysis is the same as the Ninth Circuit’s test for
                 21 specific jurisdiction, except that instead of looking at the defendant’s contact with
                 22 the forum state, the Ninth Circuit considers contacts with the nation as a whole.”).
                 23         Under this Circuit’s test for specific personal jurisdiction, Riot need only
                 24 make a prima facie case that (1) the nonresident defendant has (a) purposefully
                 25 directed his activities at the forum [the United States] or (b) purposefully availed
                 26 himself of the privilege of conducting activities in the forum; and (2) the claim
                 27 arises out of or relates to the defendant’s forum-related activities.
    Mitchell     28 Schwarzenegger, 374 F.3d at 802. Once Riot has done so, the burden then shifts to
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                  1 the Moving Defendants to present a “compelling case” that the exercise of
                  2 jurisdiction would “not be reasonable.” Id. Riot easily has met its burden: it has
                  3 made specific, detailed allegations regarding substantial jurisdictional contacts in
                  4 this case. The Moving Defendants, for their part, have not disputed any of Riot’s
                  5 specific factual allegations, nor have they submitted any facts or evidence that the
                  6 exercise of jurisdiction would be so unreasonable as to violate due process.
                  7         A.    Moving Defendants Purposefully Directed Their Activities at the
                  8               Forum.
                  9         Because Riot’s claims arise from the unauthorized exploitation of Riot’s
                 10 intellectual property, the appropriate inquiry is whether the Moving Defendants
                 11 “purposefully directed” their activities at the United States. Mavrix Photo, Inc. v.
                 12 Brand Techs., Inc., 647 F.3d 1218, 1228 (9th Cir. 2011). To establish “purposeful
                 13 direction,” this Court applies the “effects” test derived from Calder v. Jones, 465
                 14 U.S. 783 (1984). This test “requires that the defendant allegedly must have (1)
                 15 committed an intentional act, (2) expressly aimed at the forum state, (3) causing
                 16 harm that the defendant knows is likely to be suffered in the forum state.” Mavrix,
                 17 647 F.3d at 1228 (internal citations and quotation marks omitted). The Ninth
                 18 Circuit recently reaffirmed that under the Calder test “[j]urisdiction may be
                 19 constitutionally maintained in such a scenario even if the defendant never set foot
                 20 in the forum state.” Burri Law PA v. Skurla, 2022 WL 1815827, at *5 (9th Cir.
                 21 June 3, 2022).
                 22         Imba Tech plainly engaged in “intentional acts” – i.e., it intentionally
                 23 performed “an actual, physical act in the real world.” CYBERsitter, LLC v.
                 24 People’s Republic of China, 805 F. Supp. 2d 958, 969 (C.D. Cal. 2011).
                 25 Specifically, Imba Tech developed the Infringing Game, marketed and advertised
                 26 it, maintained and updated it, entered into contracts with players, and provided
                 27 links to ensure that potential players could easily find the Infringing Game. See
    Mitchell     28 Joyfun, 2020 WL 1972284 at *6 (intentional acts include “advertising the
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                  1 Infringing Game via platforms like Facebook”). As for the other two prongs
                  2 (express aiming and foreseeable injury), the evidence and undisputed allegations
                  3 confirm that Imba Tech expressly aimed its conduct at the U.S., knowing that the
                  4 injury would be felt by Riot here in Los Angeles. Riot’s undisputed allegations
                  5 also reflect that Suga and Imba Tech are so closely intertwined that Suga also is
                  6 subject to personal jurisdiction as the alter ego of Imba Tech (to the extent that
                  7 Suga and Imba Tech are even different companies.)
                  8                1.    Imba Tech “Expressly Aimed” Its Activities At The United
                  9                      States.
                 10         The undisputed evidence confirms that Imba Tech was largely (if not

                 11 entirely) responsible for the Infringing Game, including its development, launch,
                 12 marketing, maintenance, customer support, and distribution. In light of that
                 13 evidence, Imba Tech cannot avoid U.S. jurisdiction simply by claiming that it
                 14 delegated certain ministerial functions to an affiliated U.S. shell company, Imba
                 15 Network. See also Michael Grecco Prods., Inc. v. Netease, Inc., 2019 WL
                 16 3245872, at *1 (N.D. Cal. July 3, 2019) (rejecting argument that corporate parent
                 17 was not subject to personal jurisdiction, because “[t]he Complaint alleges that
                 18 Netease and Netease IT worked together to curate American content that,
                 19 allegedly, included [plaintiff’s] works”). Irrespective of the relationship between
                 20 Imba Tech and Imba Network, the evidence reflects that Imba Tech engaged in a
                 21 variety of activities on its own behalf that were expressly aimed at the United
                 22 States and which subject it to personal jurisdiction here.
                 23                      a.     Imba Tech Directed The Infringing Game To,
                                                Marketed To, and Engaged With, U.S. Customers.
                 24
                            As set forth above, Imba Tech was responsible for every single aspect of the
                 25
                      Infringing Game, and all of its activities were designed to exploit the U.S. market.
                 26
                      It developed and designed the Infringing Game, ensuring that its content would be
                 27
                      appealing and accessible to U.S. users. It launched and maintained an English-
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                  1 language marketing campaign (including through Facebook, Twitter, and other
                  2 social media platforms) that was directed in whole or in part at U.S. consumers. It
                  3 made a concerted effort to partner with U.S. English-language streamers and
                  4 influencers to spread the word about the Infringing Game to U.S. and Canadian
                  5 audiences. It posted advertisements and promotions around U.S. holidays. It
                  6 purchased or leased U.S.-based servers for the Infringing Game. It created and
                  7 maintained English-language support pages, chatrooms, and Discord channels. It
                  8 ensured that prices were advertised in U.S. dollars. These are precisely the
                  9 activities that Courts in this District have found to constitute express aiming. See,
                 10 e.g., Joyfun, 2020 WL 1972284 at *6 (express aiming where defendant held events
                 11 to coincide with U.S. holidays, posted in-game currency prices in U.S. dollars,
                 12 provided English-language chat rooms, and communicated with users via Discord);
                 13 3DO Co. v. Poptop Software, Inc., 1998 WL 962202, at *3 (N.D. Cal. Oct. 27,
                 14 1998) (“Defendants have posted a website, accessible by California residents,
                 15 which permits users to download copies of the Tycoon II Demo.”).
                 16         Moreover, irrespective of whether “Imba Network” or “Imba Tech” was
                 17 listed on App stores as the “seller” of the Infringing Game, there can be little
                 18 dispute that Imba Tech was in fact the company responsible for the distribution of
                 19 the Infringing Game. It regularly touted that “[w]e have 8 games on Google Play
                 20 Store/App Store.” It provided multiple, prominent links on its Website and social
                 21 media pages to U.S.-based app platforms where the Infringing Game could be
                 22 downloaded. It posted about content updates and patches to the Infringing Game.
                 23 It promoted sales and special events. Additionally, each time an update was
                 24 applied to the Infringing Game, it necessarily was provided to consumers by Imba
                 25 Tech (which created the updates.) All of these either are acts of direct or
                 26 contributory infringement of Riot’s copyrights in the United States. See Perfect
                 27 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1172 (9th Cir. 2007) (“Google
    Mitchell     28 substantially assists websites to distribute their infringing copies to a worldwide
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                  1 market and assists a worldwide audience of users to access infringing materials.”);
                  2 Goes, 2015 WL 5043296, at *9 (“[D]efendants’ acts of distributing infringing
                  3 games to U.S. consumers and generating revenue (and diverting customers from
                  4 Goes’s games) are acts ‘expressly aimed’ at the U.S.”).4
                  5         Finally, the undisputed evidence reflects that Imba Tech directly and
                  6 intentionally engaged with players that it knew were in the United States. Every
                  7 time a U.S. customer downloaded and played the Infringing Game, that customer
                  8 assented to a contract (i.e., the Terms of Service) with Imba Tech. See Colt Studio,
                  9 Inc. v. Badpuppy Enters., 75 F. Supp. 2d 1104, 1109-10 (C.D. Cal. 1999) (“The
                 10 sale of each subscription essentially involves an agreement between Badpuppy and
                 11 a consumer….”). Imba Tech knew that a significant portion of these customers
                 12 were in the United States, and thus included a special provision in its Terms of
                 13 Service for U.S. users. Notably, the Terms of Service does not contain a similar
                 14 provision for any other country. See Wargaming.net, Ltd. v. Blitzteam LLC, 2021
                 15 WL 3619956, at *3 (C.D. Cal. Jan. 20, 2021) (noting that “Defendant’s terms of
                 16 service are the same for all customers except for United States residents”); Quigley
                 17 v. Guvera IP Pty Ltd., 2010 WL 5300867, at *4 (N.D. Cal. Dec. 20, 2010)
                 18 (“California-specific privacy policy” favored personal jurisdiction in California.)
                 19         Imba Tech also created an interactive English-language support site where
                 20 users could find answers to questions about the Infringing Game. And, it
                 21 encouraged users to join an English-language Discord “community” dedicated to
                 22 the Infringing Game. See Indiana Plumbing Supply, Inc. v. Standard of Lynn, Inc.,
                 23 880 F. Supp. 743, 747 (C.D. Cal. 1995) (jurisdiction appropriate where defendant
                 24 “maintains a nationwide toll-free number”); Metro-Goldwyn-Mayer Studios, Inc. v.
                 25 Grokster, 243 F. Supp. 2d 1073,1087 (C.D. Cal. 2003) (relevant factors are
                 26 “whether the defendant encouraged residents of the forum state to engage in
                 27
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                    4
                      Imba Tech’s and/or Suga’s decision to create a special U.S. shell company (Imba
                 28 Network)
  Silberberg &               confirms that the Infringing Game was directed to the U.S. market.
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                  1 relevant contacts with the defendant” and “whether the defendant exchanged
                  2 messages with forum residents...”).
                  3         Whether the U.S. was the primary market for the Infringing Game or just
                  4 one of several markets is irrelevant. The evidence is clear that Defendants
                  5 intended to make the game available and appealing to U.S. customers, knew that it
                  6 had many U.S. customers, and hoped to further attract U.S. customers through
                  7 advertising, influencer partnerships, and social media networks – all of which were
                  8 in English. Joyfun, 2020 WL 1972284 at *6 (“Zroad HK has done more than
                  9 merely distribute a game for a worldwide audience or advertise to U.S. customers.
                 10 Blizzard persuasively demonstrates that Zroad HK, along with the other
                 11 Defendants, targets American players.”) Thus, Defendants knew that their
                 12 activities would reach the U.S. market – and they made every effort to ensure that
                 13 the U.S. was included. See Vault Corp. v. Quaid Software, Ltd., 775 F.2d 638, 640
                 14 (5th Cir. 1985) (personal jurisdiction proper where defendant “made no attempt to
                 15 limit the states in which its product was marketed”).
                 16                      b.     Defendants Aimed Their Infringing Conduct At Riot,
                                                A U.S. Company Based In California.
                 17
                 18         “Express aiming” further is demonstrated by the fact that Defendants
                 19 “individually targeted” Riot, which they knew was a U.S. company based in
                 20 California. “[T]he Ninth Circuit has held that specific jurisdiction exists where a
                 21 plaintiff … alleges that defendant intentionally infringed its intellectual property
                 22 rights knowing [the plaintiff] was located in the forum state.’ California Brewing
                 23 Co. v. 3 Daughters Brewing LLC, 2016 WL 1573399, at *3 (E.D. Cal. Apr. 19,
                 24 2016) (internal quotations and citations omitted); see also Amini Innovation Corp.
                 25 v. JS Imports, Inc., 497 F. Supp. 2d 1093, 1106 (C.D. Cal. 2007) (specific
                 26 jurisdiction exists “where a plaintiff brings suit in its home forum against an out-
                 27 of-state defendant, alleging that the defendant engaged in infringing activities
    Mitchell     28 knowing that plaintiff was located in the forum”). See also Burri Law, at *7
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                  1 (defendant engages in express aiming when its conduct is “for the very purpose of
                  2 having their consequences felt in the forum state.”)
                  3         Review of the Infringing Game (including the numerous exemplars set forth
                  4 in the Complaint) confirms that Defendants intended to exploit Riot’s copyrights.
                  5 The Infringing Game does not simply use fantasy or science fiction archetypes; it
                  6 created rip-off versions of dozens of LoL characters and gave those characters
                  7 nearly identical names (e.g. “Victor” instead of “Viktor,” “Tolan” instead of
                  8 “Talon,” “Dinger” instead of “”Heimerdinger”), identical background stories, and
                  9 similar visual features and abilities. Additionally, Imba Tech used the names of
                 10 Riot games as a marketing tool to attract customers, such as by including the
                 11 hashtag #Leagueoflegends in its Tweets.
                 12         Since Riot is one of the most well-known video game companies in the
                 13 world, and Imba Tech admits that its developers are competitive LoL players, it
                 14 certainly knew that by copying Riot’s intellectual property it would be causing
                 15 harm in the United States. See Bossland, 2017 WL 412262, at *4 (“Bossland had
                 16 to anticipate that Blizzard, a company well known to be based in the United States,
                 17 would suffer loss in the United States as a result of Bossland’s software.”); 3DO,
                 18 1998 WL 962202, at *4 (“The computer game industry is primarily located in
                 19 California. Therefore, Defendants’ conduct is likely to have an effect in the forum
                 20 state.”). If there were any remaining doubt that Imba Tech knew that it was
                 21 infringing Riot’s rights, it should have been put to rest by the comments posted by
                 22 consumers notifying them about its exploitation of Riot intellectual property.
                 23 Compl. ¶ 38. Imba Tech responded to these comments, acknowledging the
                 24 similarities between the Infringing Game and LoL. Id. ¶ 39.
                 25               2.     The Harm to Riot was Foreseeable.
                 26         “[A] corporation incurs economic loss, for jurisdictional purposes, in the
                 27 forum of its principal place of business.” CollegeSource, Inc. v. AcademyOne,
    Mitchell     28 Inc., 653 F.3d 1066, 1079 (9th Cir. 2011). See also Mountz v. Northeast Indus.
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                  1 Bolting & Torque, LLC, 2016 WL 6699295, at *5 (N.D. Cal. Sept. 30, 2016)
                  2 (“Where, as here, a party brings a claim for infringement of intellectual property,
                  3 [i]t is foreseeable that the loss will be inflicted both in the forum where the
                  4 infringement took place . . . and where the copyright holder has its principal place
                  5 of business.”) (internal quotation marks omitted); see also Hydentra HLP Int’l Ltd.
                  6 v. Sagan Ltd., 783 Fed. Appx. 663, 665 (9th Cir. 2019) (intentional act of
                  7 infringement is sufficient to establish foreseeable harm in the plaintiff’s principal
                  8 place of business). This prong is met even if the defendant claims to be unaware of
                  9 the plaintiff’s location (which plainly is not the case here.) See Brackett v. Hilton
                 10 Hotels Corp., 619 F. Supp. 2d 810, 818 (N.D. Cal. 2008). It obviously was
                 11 foreseeable that the distribution and marketing of a game containing Riot’s
                 12 valuable intellectual property would harm Riot in the U.S.
                 13         B.     Moving Defendants Also Are Subject To Personal Jurisdiction
                 14                Under Alter Ego Or Agency Theories.
                 15         The Court also may exercise jurisdiction over both Imba Tech and Suga
                 16 because the evidence is sufficient to meet Riot’s light burden at this stage that all
                 17 of the Defendants are so closely intertwined that they are alter egos or agents of
                 18 each other. See ADO, 931 F. Supp. at 715 (“Under the federal law governing the
                 19 exercise of in personam jurisdiction, if a corporation is the alter ego of an
                 20 individual defendant, or one corporation the alter ego of another, the Court may
                 21 ‘pierce the corporate veil’ jurisdictionally and attribute ‘contacts’ accordingly.”).
                 22         Under the alter ego doctrine, one corporation may be liable for the actions of
                 23 another where it is shown that “‘(1) there is such unity of interest and ownership
                 24 that the separate personalities of [the corporations] no longer exist and (2) that
                 25 failure to disregard [their separate identities] would result in fraud or injustice.’ ”
                 26 Grokster, 243 F. Supp. 2d at 1098. “[T]he standard for personal jurisdiction under
                 27 an alter ego theory is lower than the standard for liability under
    Mitchell     28 an alter ego theory.” Television Events & Mktg., Inc. v. AMCON Distrib., Co., 484
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                  1 F. Supp. 2d 1124, 1142 (D. Haw. 2006).
                  2         There is and can be no dispute that Imba Network is a shell corporation or
                  3 agent for Imba Tech and/or Suga. Imba Network does not have an office, does not
                  4 have employees, was created by and is operated by the same individuals that own
                  5 and operate Imba Tech and Suga (e.g., common ownership), and provides services
                  6 exclusively for these two companies (e.g., common interest).
                  7         Riot also specifically alleged (undisputed) facts sufficient to establish that
                  8 Imba Tech and Suga have an alter ego relationship for purposes of personal
                  9 jurisdiction, if not liability. They share offices, phone numbers, employees, and
                 10 owners. Suga recruits and hires Imba Tech staff and employees. It refers to Imba
                 11 as its central (and sole) “brand” or “division” of the company in the gaming
                 12 industry. It claims to be in the business of game development by way of Imba
                 13 Tech, and even touts the Infringing Game as among its catalog of games. By
                 14 contrast, Defendants have failed to offer even a single piece of evidence to
                 15 establish that they are independent companies with a separate corporate existence.
                 16 In fact, the declarations submitted by Imba Tech and Suga do not contain even a
                 17 single sentence explaining the nature of their business and their relationship.5
                 18         The foregoing is sufficient at this (lowered burden) stage to impute Imba
                 19 Tech’s and Imba Network’s U.S. contacts to Suga. RAE Sys., Inc. v. TSA Sys.,
                 20 Ltd., 2005 WL 1513124, at *3-4 (N.D. Cal. June 24, 2005) (allegations of “unity of
                 21 interest and ownership” was sufficient, even if contradicted by defendants’
                 22 declarations). Alternatively, the evidence is sufficient to warrant jurisdictional
                 23 discovery so that Riot can more fully assess the relationship between the
                 24 Defendants and, if necessary, amend its complaint to ensure that all relevant
                 25
                    5
                      The statement in both the Do and Truong declarations that Imba Tech or Suga
                 26 “does  not own or have any shares in Imba Network, LLC” is misleading. Do is the
                 27 officer ofImba
                    CEO   of       Tech, the founder and CEO of Imba Network, and was formerly an
                               Suga. Thus, there certainly is common ownership and control amongst
    Mitchell     28 the three companies, even if Do and Truong created the fiction of corporate
                    separation by manipulating stock ownership.
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                  1 persons and entities have been included in this lawsuit.
                  2         C.    Riot’s Claims Arise out of Defendants’ U.S. Activity.
                  3         For this prong of the jurisdictional analysis, the Ninth Circuit applies a “but
                  4 for” test, which requires the plaintiff to demonstrate that its claims would not have
                  5 occurred but for defendant’s contacts with the forum state. Ballard v. Savage, 65
                  6 F.3d 1495, 1500 (9th Cir. 1995). That test easily is met here. This case is about
                  7 Defendants’ infringement of Riot’s intellectual property rights in the U.S. U.S.
                  8 players would not have downloaded and played the Infringing Game if it were not
                  9 for Defendants’ development, marketing, distribution, maintenance, and support
                 10 for the Infringing Game. See, e.g., AMA Multimedia LLC v. Sagan Ltd., 2016 WL
                 11 5946051, at *5-6 (D. Ariz. Oct. 13, 2016) (Rule 4(k)(2) “but for” test satisfied
                 12 because: “[defendant’s website] anticipated, desired and achieved a substantial
                 13 [United States] viewer base with the intent of commercial gain. … [The website’s]
                 14 alleged infringement of [plaintiff’s] copyrighted works would serve only to further
                 15 the purpose of growing the United States viewership for commercial gain. What is
                 16 more, [defendant’s website] specifically targeted [plaintiff’s] content, knowing
                 17 [plaintiff] was a United States company protected by United States copyright laws,
                 18 and proceeded to post that content in the United States....”).
                 19         D.    The Exercise of Jurisdiction is Not Unreasonable.
                 20         Moving Defendants have not come close to carrying their heavy burden of
                 21 proving that the exercise of jurisdiction would be unreasonable. Instead, their
                 22 only argument seems to be that, as a matter of convenience, they would prefer that
                 23 Riot – a Los Angeles-based company – bear the burden of having to litigate its
                 24 U.S. copyright law claims in Singapore and Vietnam. Leaving aside the inherent
                 25 unfairness of requiring a U.S. company to litigate U.S. infringement claims
                 26 overseas based on a game distributed and played by thousands of U.S. players,
                 27 Moving Defendants’ claim is irrelevant. “[I]t is not enough that the [defendant]
    Mitchell     28 demonstrate that some other forum is more reasonable than California, [defendant]
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                  1 must show a due process violation; [defendant] must show that jurisdiction in
                  2 California would make the litigation so gravely difficult and inconvenient that a
                  3 party unfairly is at a severe disadvantage in comparison to [its] opponent.” See
                  4 Jeske v. Fenmore, 2008 WL 5101808, at *6 (C.D, Cal. Dec. 1, 2008) (internal
                  5 citations and quotation marks omitted). Moving Defendants never claim that they
                  6 are unable to litigate the claims here (in fact, their affiliate Imba Network already
                  7 will be defending the case here), just that it would be inconvenient for them.
                  8         The Ninth Circuit considers seven factors in determining reasonableness.
                  9 See Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1021 (9th Cir. 2002)
                 10 (listing factors). Not one of the factors weighs against jurisdiction, far less
                 11 presents a “compelling” reason to deny jurisdiction.
                 12         (i)    Extent of Purposeful Interjection. Moving Defendants’ claim that
                 13 they did not “inject” themselves into the U.S. market is contrary to the facts.
                 14 Defendants interjected themselves into the U.S. market by creating the Infringing
                 15 Game, causing it to be distributed in the U.S., marketing it in the U.S., entering
                 16 into contracts with U.S. users, offering customer support and chat room support to
                 17 U.S. customers, and collecting money from U.S. customers. They did so intending
                 18 to harm Riot. See AMA Multimedia, 2016 WL 5946051, at *5 (defendant’s
                 19 website targeted the U.S. market for commercial gain).
                 20         (ii)   Burden of Defending in the Forum. “[I]n almost any case where the
                 21 defendant does not reside in the forum state, some additional inconvenience is
                 22 inevitable.” Indiana Plumbing, 880 F. Supp. at 748. Moving Defendants have not
                 23 offered evidence to support their claim that it would be “extremely burdensome”
                 24 for them to defend this action in the United States. For example, Moving
                 25 Defendants do not identify any witnesses who would be unable to testify at trial or
                 26 deposition, any documents that could not be transported to California, or physical
                 27 barriers to defending the case here. The Ninth Circuit has recognized that “modern
    Mitchell     28 means of communication and transportation have tended to diminish the burden of
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                  1 defense of a lawsuit in a distant forum.” Id. (internal citations and quotations
                  2 marks omitted). Imba Network is located in the United States and has appeared
                  3 through the exact same U.S. counsel that represents Imba Tech and Suga. In the
                  4 meantime, all major third-party witnesses are located in the United States, as are all
                  5 relevant Riot witnesses (including its artists, designers, and licensing team).
                  6         (iii)   Extent of Conflict With the Sovereignty of the Defendant’s State.
                  7 Defendants do not identify any purported conflict with the sovereignty of
                  8 Singapore or Vietnam. Riot’s complaint addresses Defendants’ violations of
                  9 Riot’s rights in the United States. See LiveCareer Ltd v. Su Jia Techs. Ltd., 2015
                 10 WL 1448505, at *9 (N.D. Cal. Mar. 31, 2015) (“Here, although Cyprus has some
                 11 interest in regulating the conduct of its corporations, [plaintiff’s] complaint only
                 12 raises questions of U.S. law.”). This Court need not adjudicate any issues of
                 13 Vietnamese or Singapore law.
                 14         (iv)    Forum State’s Interest in Adjudicating the Dispute. “The United
                 15 States has a significant interest in resolving disputes of United States copyright law
                 16 involving infringement by foreign defendants.” AMA Multimedia, 2016 WL
                 17 5946051, at *7. The United States (and California in particular) has a particular
                 18 interest in protecting Riot, a California-based company.
                 19         (v)     Most Efficient Judicial Resolution of the Controversy. Because
                 20 this dispute involves infringements in the United States, under U.S. copyright law,
                 21 a court in Singapore or Vietnam cannot effectively or efficiently decide the issues
                 22 presented here. See Lafarge Canada, Inc. v. Bank of China, 2000 WL 1457012, at
                 23 *3 (S.D.N.Y. Sept. 29, 2000) (denying motion for forum non conveniens: “[The]
                 24 Court is not persuaded that the courts in China will apply the appropriate United
                 25 States law as efficiently as a court in the United States.”); Halo Creative Design
                 26 Ltd. v. Comptoir Des Indes Inc., 816 F.3d 1366, 1371 (Fed. Cir. 2016) (“[T]here is
                 27 no indication that Canadian citizens could successfully sue in Canada with respect
    Mitchell     28 to exclusively extraterritorial infringement.”).
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                  1         (vi)   Importance of the Forum to the Plaintiff’s Interest in Convenient
                  2 and Effective Relief. As discussed above, Riot can only effectively and
                  3 conveniently obtain relief for its U.S. federal law claims in a U.S. Court.
                  4         (vii) Existence of an Alternative Forum. There is no alternative forum,
                  5 and Defendants have not offered any evidence that this matter could be handled
                  6 effectively by a court in Singapore or Vietnam. Moving Defendants’ assertion that
                  7 “Suga and Imba Tech are unaware of any basis for concluding that Singapore or
                  8 Vietnam is not an adequate alternative forum” is not sufficient to meet their heavy
                  9 burden of proving that a U.S. forum would violate due process.
                 10 III.    AT MINIMUM, RIOT IS ENTITLED TO JURISDICTIONAL
                 11         DISCOVERY.
                 12         Even without the benefit of formal discovery, Riot has satisfied its burden of
                 13 making a prima facie showing of personal jurisdiction. However, if the Court
                 14 determines that Riot has not made a prima facie showing, Riot requests that the
                 15 hearing on this motion be continued and Riot be permitted to take discovery on
                 16 jurisdictional and alter ego issues. See Orchid Biosciences, Inc. v. St. Louis Univ.,
                 17 198 F.R.D. 670, 672-73 (S.D. Cal. 2001).6 See also Good Job Games Bilism
                 18 Yazilim Ve Pazarlama A.S. v. SayGames, LLC, 2021 WL 5861279, at *1 (9th Cir.
                 19 Dec. 10, 2021) (“The question of jurisdiction in the Internet age is not well-settled”
                 20 and “discovery… might well demonstrate facts sufficient to constitute a basis for
                 21 jurisdiction.”), quoting Harris Rutsky & Co. Ins. Servs., Inc. v. Bell & Clements
                 22
                 23   6
                        Riot should be entitled to discovery on facts such as, without limitation, (a) the
                 24   relationship between the Defendants, and the manner by which each Defendant
                      contributed to the creation and distribution of the Infringing Game, (b) the identity
                 25   of all persons and entities who developed the Infringing Game, (c) the nature and
                 26   extent of Defendants’ marketing of the Infringing Game; (d) the number of U.S.
                      users that downloaded and played the Infringing Game; (d) the amount of money
                 27   received from U.S. users, (e) communications with U.S. users, and (f) Defendants’
    Mitchell     28   corporate structure, observance of formalities, capitalization, business operations,
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                      officers/directors, and employees. See Good Job Games 2021 WL 5861279, at *1.
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                  1 Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003).
                  2         Courts have broad discretion to authorize jurisdictional discovery upon a
                  3 “colorable showing” that personal jurisdiction exists. See eMag Sols., LLC v. Toda
                  4 Kogyo Corp., 2006 WL 3783548, at *2 (N.D. Cal. Dec. 21, 2006), citing Orchid
                  5 Biosciences at 672-673 (“[A] plaintiff is not obligated to make out a ‘prima facie’
                  6 case of personal jurisdiction before it can obtain limited jurisdictional discovery,
                  7 because ‘[i]t would … be counterintuitive to require a plaintiff, prior to conducting
                  8 discovery, to meet the same burden that would be required to defeat a motion to
                  9 dismiss.’”); Data Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F. 2d 1280, 1285 n.1
                 10 (9th Cir. 1977) (jurisdictional discovery may be allowed “where pertinent facts
                 11 bearing on the question of jurisdiction are controverted or where a more
                 12 satisfactory showing of the facts is necessary”). Moreover, such discovery
                 13 regularly is granted in cases involving alter ego allegations. See Harris Rutsky,
                 14 328 F.3d at 1135 (remanding for discovery on alter ego issues because “[f]urther
                 15 discovery on this issue might well demonstrate facts sufficient to constitute a basis
                 16 for jurisdiction”). Riot has made far more than a “colorable showing.”
                 17 Accordingly, if the Court has any doubt as to the exercise of jurisdiction,
                 18 jurisdictional discovery – not dismissal – is the proper remedy here.
                 19                                    CONCLUSION
                 20         For the foregoing reasons, the Court should deny the Motion to Dismiss. At
                 21 minimum, the Court should permit jurisdictional discovery before ruling on the
                 22 Motion.
                 23 DATED: JUNE 13, 2022                   MITCHELL SILBERBERG & KNUPP LLP
                 24
                 25                                        By: /s/ Marc E. Mayer
                 26                                             Marc E Mayer
                                                                Attorneys for Riot Games, Inc.
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